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                         IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 07-20007-01-JWL


Aaron Harris,

                     Defendant.

                                  MEMORANDUM & ORDER

       This matter is before the court on Mr. Harris’s motion for reduction of sentence pursuant

to 18 U.S.C. § 3582(c)(2) in which Mr. Harris asks the court to reduce his sentence based on

Amendment 782 to the United States Sentencing Guidelines. Over the government’s objection,

the motion is granted.

       Mr. Harris received a low-end guideline sentence of 151 months consistent with the

guideline range for imprisonment based on a total offense level of 33 and a criminal history

category of II. Amendment 782 would reduce Mr. Harris’s offense level to 31, warranting an

amended guideline range of 121 to 151 months. While the government agrees that Mr. Harris is

eligible for a two-level reduction in his base offense level, it objects to the reduction and urges

the court to exercise its discretion to deny the reduction based on Mr. Harris’ post-sentencing

misconduct in prison. The court rejects this argument and concludes that Mr. Harris’ post-

sentencing misconduct should not prevent Mr. Harris from receiving the adjustment to which he

is otherwise entitled. The Bureau of Prisons has adequate sanctions at its disposal to address

violations, such as denial of good time and imposition of administrative segregation. In fact, the
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record reflects that the BOP has punished Mr. Harris for his misconduct by reducing his good

time credits.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Harris’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 166) is granted and Mr. Harris’s

sentence is reduced from 151 months to 121 months imprisonment. All other provisions of

the judgment dated May 2, 2008 shall remain in effect.



       IT IS SO ORDERED.



       Dated this 22nd day of April, 2015, at Kansas City, Kansas.

       Effective Date: November 1, 2015.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




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